          Case 1:14-cv-03625-VSB-KNF Document 146 Filed 04/30/21 Page 1 of 2



 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
                                                             :                            4/30/2021
ADELAIDO GALEANA and NICHOLAS                                :
GALEANA,                                                     :
                                                             :
                                         Plaintiffs,         :         14-CV-3625 (VSB)
                                                             :
                           -against-                         :               ORDER
                                                             :
                                                             :
MAHASAN INC. et al.,                                         :
                                                             :
                                         Defendants.         :
                                                             :
                                                             :
----------------------------------------------------------- X

 VERNON S. BRODERICK, United States District Judge:

          On March 29, 2021, I issued an order noting that if Plaintiffs intended to seek a default

 judgment against Defendants in the above-captioned litigation, they were directed to do so in

 accordance with my Individual Rules and Practices in Civil Cases (“Individual Rules”) on or before

 April 29, 2021. (Doc. 141.) On April 29, 2021, Plaintiffs submitted a Certificate of Default and an

 attorney declaration, but failed to submit any of the other materials explicitly set out and required in

 my Individual Rules. Plaintiffs’ filings are thus incomplete. Accordingly, it is hereby:

          ORDERED that Plaintiffs are directed to submit the remaining materials required for a

 motion for default judgment on or before May 7, 2021. Plaintiffs are directed to review carefully

 my Individual Rules to ensure they have submitted all required materials.

          IT IS FURTHER ORDERED that Plaintiffs are directed to serve a copy of this Order on

 Defendants at their last known address(es) and then file proof of service on the docket.
         Case 1:14-cv-03625-VSB-KNF Document 146 Filed 04/30/21 Page 2 of 2



SO ORDERED.

Dated:        April 30, 2021
              New York, New York
                                           ________________________________
                                           Vernon S. Broderick
                                           United States District Judge
